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EXHIBIT A
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                                                                                              EFILED IN OFFICE
           SUPERIOR COURT OF DOUGHERTY COUNTY CLERK OF SUPERIOR COURT
                                             DOUGHERTY COUNTY, GEORGIA
                     STATE OF GEORGIA        SUCV2022000272
                                                                                         MAR 04, 2022 04:16 PM


                                                                                                          Evonne S. Mull, Clerk
                                                                                                     Dougherty County, Georgia




                         CIVIL ACTION NUMBER $11CV2022000272
   Litt, Calvin, Sr.
   Litt, Irish
   Calvin Litt, Sr., as the anticipated ,DBA
   Administrator ofthe Estate of Calvin Litt Jr.

   PLAINTIFF
                                              VS.
   The Proctor & Gamble Paper Products
   Company,INC.

   DEFENDANT


                               SUMMONS
   TO: THE PROCTOR & GAMBLE PAPER PRODUCTS COMPANY,INC.

   You are hereby summoned and required to file with the Clerk ofsaid court and serve upon the
   Plaintiffs attorney, whose name and address is:

                            Natanya Brooks
                            Brooks Injury Law
                            3740 Davinci Court
                            Suite 150
                            Peachtree Corners, Georgia 30092

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you,exclusive ofthe day of service. If you fail to do so,judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 4th day of March,2022.
                                                    Clerk of Superior Court




                                                                      -
                                                                    Evonne S. Mull, Clerk
                                                               Dougherty County, Georgia




                                                                                       Page 1 of 1
 .1`
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                                                                                        CLERK OF SUPERIOR COURT
                                                                                       DOUGHERTY COUNTY, GEORGIA
                                                                                      SUCV2022000272
                     IN THE SUPERIOR COURT OF DOUGHERTY COUNTY
                                  STATE OF GEORGIA                                       MAR 04, 2022 04:16 PM

                                                                                              rA••           sisr%
 CALVIN LITT, SR. and IRISH LITT,                                                                         Evonne S. Mull, Clerk
                                                                                                     Dougherty County, Georgia
 individually as the Wrongful Death
 Beneficiaries of CALVIN LITT, JR., and
 CALVIN LITT, SR., as the anticipated
 Administrator of the Estate of CALVIN
 LITT, JR.,

       Plaintiffs,
                                                         CIVIL ACTION FILE
  V.                                                     NO.

 THE PROCTER & GAMBLE PAPER
 PRODUCTS COMPANY,INC.

       Defendant.

                                  COMPLAINT FOR DAMAGES

          Plaintiffs Calvin Litt, Sr. and Irish Litt, individually as the Wrongful Death Beneficiaries

of Calvin Litt, Jr., and Calvin Litt, Sr., as the anticipated Administrator of the Estate of Calvin

Litt, Jr., deceased, file this Complaint for Damages against Defendant The Procter & Gamble

Paper Products Company, Inc., showing the Court as follows:

                                                   1

          Calvin Litt, Sr. and Irish Litt, as the Wrongful Death Beneficiaries of Calvin Litt, Jr., and

Calvin Litt, Sr., as the anticipated Administrator of the Estate of Calvin Litt, Jr., file this lawsuit

to recover all damages arising out of the death of their son, Calvin Litt, Jr. Pursuant to 0.C.G.A.

§51-4-4 and/or 0.C.G.A. §19-7-1, Calvin Litt, Sr. and Irish Litt are the proper parties to bring

the wrongful death claim. Also, as the anticipated Administrator of the Estate, Calvin Litt, Sr. is

the proper party to bring all claims that belong to the Estate, including damages for pre-death

pain and suffering, pre-impact fright, fear of imminent death, and shock, as well as all funeral

and medical expenses.
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                                                2

       Plaintiffs hereby state their intention to bring each and every claim permissible under

Georgia law arising from the injuries to and death of Calvin Litt, Jr., including all individual

claims, personal injury claims, wrongful death claims, and Estate-based claims. Plaintiffs seek all

medical expenses, funeral and burial expenses, necessary expenses, pain and suffering, wrongful

death, estate damages, and all compensatory, special, actual, consequential, economic, general,

punitive, and all other damages permissible under Georgia law.

                                                3

       Defendant The Procter & Gamble Paper Products Company ("Procter & Gamble") is a

foreign corporation incorporated under the laws of the State of Ohio. Procter & Gamble is

registered to transact business in the State of Georgia and may be served with process through its

registered agent, CT Corporation System, at 289 S Culver Street, Lawrenceville, Georgia 30046.

                                                4

       Jurisdiction and venue are proper in this Court.

                                                5

       Procter & Gamble has been properly served with sufficient process in this action.

                                                6

       On or about September 23, 2021, decedent Calvin Litt, Jr. died from the injuries he

sustained after a forklift mast fell on him due to Procter & Gamble's negligence. At the time,

Calvin Litt, Jr. was employed by Sodexo, Inc. ("Sodexo") or a subsidiary of Sodexo. Mr. Litt

was performing work at Procter & Gamble's plant in Albany, Georgia, located at located at 512

Liberty Expressway, Albany, Georgia 31705(the "Premises").




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                                               7

       Procter & Gamble contracted with Sodexo (or one of its affiliates) to repair forklifts and

other motorized vehicles at the Premises.

                                               8

       At all relevant times, Procter & Gamble leased, controlled, possessed, and/or occupied

the Premises.

                                               9

       Upon information and belief, Procter & Gamble provided the tools and equipment for

Sodexo's employees and contractors to perform the mechanical work on forklifts and other

motorized vehicles at the Premises.

                                               10

       Upon information and belief, Procter & Gamble also contracted with other contractors to

perform work for Procter & Gamble at the Premises.

                                               11

       On or about September 23, 2021, Calvin Litt, Jr., an employee of Sodexo and a business

invitee of the Premises, arrived at the Premises to work for the day. Calvin Litt, Jr. was not an

employee of Procter & Gamble on September 23, 2021.

                                               12

       At or around the time Mr. Litt, Jr. arrived at the Premises on September 23, 2021, he and

his co-worker, Kenneth McMillian, pursuant to their employment, began working on a forklift

that a worker from a prior shift had been working on.

                                               13




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        When Calvin Litt, Jr. and Kenneth McMillian began working on the forklift, the front

two tires of the forklift were up on blocks and the mast of the forklift (the portion of the forklift

that lifts, lowers, and positions the loads manipulated by the forks) was detached from one side

of the forklift. The mast was suspended in the air in front of and above the forklift, held up by a

strap that went around the mast and attached to a crane that could lift the mast up and down.

                                                  14

        Mr. Litt, Jr. and Mr. McMillian began performing mechanical work on the forklift. They

were attempting to take the broken differential off the forklift and replace it with a working

differential.

                                                  15

        While Mr. Litt, Jr. was performing work on the forklift using the overhead crane, the

mast of the forklift slipped out of the strap that was holding it up. The mast hit Calvin Litt, Jr.,

knocking him back. The mast then fell on top of Mr. Litt, Jr., causing him to sustain serious

injuries that ultimately killed him.

                                                 16

        As a direct and proximate consequence of the wrongful acts and omissions of Procter &

Gamble, Calvin Litt, Jr. sustained physical and emotional injuries, and was aware and conscious

of his impending death. Procter & Gamble's actions were a cause-in-fact and a proximate cause

of such injuries, pain and suffering, and death to Calvin Litt, Jr.

                                                 17

        As a direct and proximate result of the wrongful acts and omissions of Procter & Gamble,

Calvin Litt, Jr. died from the serious injuries he sustained on September 23, 2021.




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                                                 18

        At all times relative to this incident, Calvin Litt, Jr. exercised ordinary care for his

 personal safety, but lacked knowledge of the hazardous conditions at the Premises due to the

(in)actions and conditions within the control of Procter & Gamble.

                                                 19

        Calvin Litt, Jr. had no constructive or actual knowledge of the dangerous conditions of

the Premises, as described herein.

                                                 20

        Prior to Calvin Litt, Jr.'s death, Proctor & Gamble had actual or constructive knowledge

that people working for Sodexo, performing mechanical work on forklifts and other motorized

vehicles, and other contractors at the Premises did not have the proper training, certification, or

knowledge to safely perform work at the Premises. Despite this, Procter & Gamble negligently

permitted such activity to exist and remain.

                                                 21

        Prior to Calvin Litt, Jr.'s death, Procter & Gamble had actual or constructive knowledge

that Mr. Litt, Jr. and/or other Sodexo employees did not have proper training, certification, or

knowledge to perform mechanical work on the forklifts and/or use the subject overhead crane at

the Premises. Despite this, Procter & Gamble negligently permitted such activity to exist and

remain.

                                                 22

        Prior to Calvin Litt, Jr.'s death, Procter & Gamble had actual or constructive knowledge

that ensuring that workers who performed mechanical work on the forklifts and/or used the

subject overhead crane at the Premises had proper training, certifications, and or/knowledge to



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perform such work was necessary to eliminate the dangers associated with the performance of

such work.

                                                 23

       Despite this, Procter & Gamble negligently failed to take action to ensure the safety of

persons performing work on the forklifts at the Premises, including, but not limited to, ensuring

only authorized and trained persons performed mechanical repair on the forklifts.

                                                 24

       Procter & Gamble negligently failed to maintain the equipment at the Premises for the

mechanical work performed on forklifts and/or use of the subject overhead crane at the Premises.

                                                 25

       Procter & Gamble negligently failed to warn invitees, including Calvin Litt, Jr., of the

dangers associated with the forklift mechanical work and/or use of the subject overhead crane.

                                                 26

       Procter & Gamble was negligent and said negligence proximately caused Calvin Litt,

Jr.'s injuries and death. Said negligence includes, but is not limited to:

       a.      Violation of federal, state, and local building and safety codes and/or standards

               for failure to provide a safe environment for the mechanical work on the forklifts

               and/or use of the crane at the Premises, as may be proven at trial;

       b.      In failing to properly maintain the equipment and tools used to perform

               mechanical work on the forklifts at the Premises;

       c.      In failing to observe adequate safety standards of invitees at the Premises;




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        d.     In negligently hiring, training, contracting, and/or retaining Sodexo to perform

               mechanical work on the forklifts and use the subject overhead crane at the

               Premises;

       e.      In failing to ensure that only authorized and properly trained personnel performed

               mechanical work on forklifts and/or use the subject overhead crane at the

               Premises; and

       f.      All other acts of negligence to be proven at trial.

                                                 27

       Procter & Gamble was negligent per se.

                                                 28

       Procter & Gamble was negligent in failing to exercise ordinary care to keep the Premises

safe for invitees, including Calvin Litt, Jr., in violation of 0.C.G.A. § 51-3-1.

                                                 29

       Procter & Gamble is liable for Calvin Litt, Jr.'s injuries, pain and suffering, death, and all

other elements of damages allowed under the laws of the State of Georgia.

                                                 30

       Plaintiffs Calvin Litt, Sr. and Irish Litt, individually as the wrongful death beneficiaries

of Calvin Litt, Jr., claim damages for the wrongful death of Calvin Litt, Jr., representing the full

value of the life of Calvin Litt, Jr., economic and intangible, to himself had he lived. Plaintiffs

seek all wrongful death damages permitted under Georgia law in an amount to be determined by

the enlightened conscience of a fair and impartial jury.

                                                 31




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        Plaintiff Calvin Litt, Sr., as the anticipated Administrator of the Estate of Calvin Litt, Jr.,

claims general damages for all the elements of the personal injuries, conscious physical and

mental pain and suffering, mental anguish, medical expenses, funeral expenses and all other

injuries and damages endured by Calvin Litt, Jr. prior to his death proximately caused by the

September 23, 2021 incident described herein. This Plaintiff seeks all estate-based damages

permitted under Georgia law in an amount to be determined by the enlightened conscience of a

fair and impartial jury.

                                                  32

        The damages claimed by Plaintiffs were proximately caused by the negligent acts and

omissions of Procter & Gamble.

                                                  33

        As a proximate and foreseeable result of Procter & Gamble's negligence, Calvin Litt, Jr.

received serious injuries and died, endured conscious pain and suffering, mental anguish, became

aware of his impending death, loss of the enjoyment of his life, lost wages, wrongful death, and

suffered other damages as will be proven at trial and permitted under Georgia law. Plaintiffs

intend to seek all compensatory, special, economic, consequential, general, punitive, and all

other damages permissible under Georgia law, including, but not limited to:

        a.     Personal injuries;

        b.     Pain and suffering;

        c.     Mental anguish;

        d.     Loss of the enjoyment of life;

        e.     Wrongful death;

      _ f.     Medical expenses;



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        g.     Funeral expenses;

        h.     Incidental expenses;

        i.     Lost past, present, and future wages;

       j.      Consequential damages to be proven at trial; and

       k.      All estate-based and wrongful death damages permitted under Georgia law.

                                                34

       Each of the foregoing acts and omissions of Procter & Gamble constitute independent

acts of negligence on the part of Procter & Gamble, and one or more of the above-stated acts

were the proximate cause of all injuries and death of Calvin Litt, Jr. Procter & Gamble is liable

for the injuries sustained, pain and suffering, expenses of treatment, and wrongful death of

Calvin Litt, Jr., and for all other elements of damage recoverable under Georgia law, including

all special, compensatory, general, incidental, consequential, economic, and punitive damages.

                                                35

       Plaintiffs are entitled to an award of punitive damages, without limitation or cap, because

the actions of/Procter & Gamble were willful and wanton and showed an entire want of care,

which would raise the presumption of a conscious indifference to consequences.

                                                36

       Accordingly, Calvin Litt, Sr., as the anticipated Administrator of the Estate of Calvin Litt,

Jr., is entitled to recover punitive damages from Procter & Gamble in accordance with the

enlightened conscious of an impartial jury pursuant to 0.C.G.A. § 51-12-5.1.

                                                37

       Procter & Gamble has acted in bad faith, has been stubbornly litigious, and/or has caused

Plaintiffs unnecessary trouble and expense in a manner that will be shown at trial.



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                                                38

        Thus, Plaintiffs are entitled to recover necessary expenses of litigation, including an

award of reasonable attorney's fees and expenses of litigation required by this action, pursuant to

0.C.G.A. § 13-6-11. Plaintiffs are also entitled to all expenses of litigation and attorney's fees

pursuant to all other Georgia statutory and common laws.

        WHEREFORE,Plaintiffs respectfully pray that:

        a.     Process issue and service be had upon Defendant;

        b.     Plaintiffs be awarded actual damages in amounts to be shown at trial;

        c.     Plaintiffs be awarded all medical, doctor, and funeral expenses in an amount to be

               proven through the evidence at the time of trial;

        d.     Plaintiffs Calvin Litt, Sr. and Irish Litt, individually as the wrongful death

               beneficiaries of Calvin Litt, Jr., be awarded all damages for the wrongful death of

               Calvin Litt, Jr., and all general, special, compensatory, economic, and other

               allowable damages in accordance with the enlightened conscience of an impartial

              jury from Procter & Gamble and as permitted under Georgia law;

        e.     Plaintiff Calvin Litt, Sr., as the anticipated Administrator of the Estate of Calvin

               Litt, Jr., recover any and all damages allowed by law, including for conscious

               pain and suffering, as well as all general, special, compensatory, economic, and

               other allowable damages from Procter & Gamble, and punitive damages from

              Procter & Gamble, in accordance with the enlightened conscience of an impartial

              jury from Procter & Gamble and as permitted under Georgia law;

        f.     Plaintiffs recover damages sufficient to compensate Plaintiffs fully, fairly, and

              completely for all losses compensable under Georgia law as set forth above;



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        g.     Plaintiffs recover expenses of litigation and attorney's fees under 0.C.G.A. § 13-

               6-11;

        h.     All costs be cast against Defendant;

        i.     Plaintiffs have a trial by jury; and

        j.     Such other relief as this Court shall deem just and appropriate.

        TRIAL BY JURY IS HEREBY DEMANDED.

        This 4th day of March, 2022.

                                                      Respectfully submitted,

                                                             BROOKS INJURY LAW,LLC


                                                      /s/ Natanya H. Brooks
                                                      Natanya H. Brooks, Esq.
                                                      Georgia Bar No: 341039
                                                      Meredith S. Watts, Esq.
                                                      Georgia Bar No: 362080
                                                      Attorneys for Plaintiff
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 Suite 150
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(678)813-2202
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                                                      MALONE LAW OFFICE


                                                      /s/Adam Malone
                                                      Adam Malone, Esq.
                                                      Georgia Bar No: 468005
                                                      Merl Benoit Link, Esq.
                                                      Georgia Bar No. 125237
                                                      Attorneys for Plaintiff
MALONE LAW OFFICE
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 Atlanta, Georgia 30346
(770)390-7550
 adam@malonelaw.com
 meri@malonelaw.com




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                     IN THE SUPERIOR COURT OF DOUGHERTY COUNTY
                                  STATE OF GEORGIA

 CALVIN LITT, SR. and IRISH LITT,
 individually as the Wrongful Death
 Beneficiaries of CALVIN LITT, JR., and
 CALVIN LITT, SR., as the anticipated
 Administrator of the Estate of CALVIN
 LITT, JR.,

      Plaintiffs,
                                                      CIVIL ACTION FILE
 V.                                                   NO. SUCV2022000272

 THE PROCTER & GAMBLE PAPER
 PRODCUTS COMPANY,

      Defendant.

             PLAINTIFFS'FIRST REQUESTS FOR ADMISSIONS TO
       DEFENDANT THE PROCTER & GAMBLE PAPER PRODUCTS COMPANY

         Pursuant to 0.C.G.A. §§ 9-11-36, Plaintiffs, by and through their undersigned counsel,

hereby request that Defendant The Procter & Gamble Paper Products Company respond under

oath to the following requests within 30 days in accordance with the Definitions set forth below.

                                           DEFINITIONS

         As used herein, the terms listed below are defined as follows:

         1.         "Procter & Gamble,' "you" or "your" shall mean, collectively, Defendant The

Procter & Gamble Paper Products Company and its officers, directors, employees, agents,

representatives, attorneys, subsidiaries, affiliated corporations, predecessors in interest,

successors in interest, and any other person or entity acting on The Procter & Gamble Paper

Products Company behalf or subject to The Procter & Gamble Paper Products Company control.

         2.         "Document" is synonymous in meaning and equal in scope to its usage in

0.C.G.A. § 9-11-34(a)(1), which includes "writings, drawings, graphs, charts, photographs,
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phono-records, and other data compilations from which information can be obtained, translated,

if necessary, by the respondent through detection devices into reasonably usable form." The term

"document" includes all forms of electronically stored information ("ESI"), as well as related

and relevant metadata for all ESI, including but not limited to information about the document's

author, creation date, revision dates, tracked changes, and electronic comments. ESI may be

generated or stored in several locations, including social media platforms, devices connected to

the Internet of Things (IoT), workplace collaboration tools (WCTs), and ephemeral messaging

applications. The term "document" includes any document now or at any time in Defendant's

possession, custody, or control. A person is deemed in control of a document if the person has

any ownership, possession, or custody of the document, or the right to secure the document or a

copy thereof from any person or public or private entity having physical possession thereof.

       3.     "Person" means any natural person or any legal entity, including but not limited to

any business or governmental entity, organization, or association.

       4.      The "Litigation" shall mean this proceeding, styled Litt et al. v. The Procter &

Gamble Paper Products Company, currently pending in Superior Court of Dougherty County.

       5.     "Relate," "relating," or "regarding" means consisting of, referring to, reflecting,

concerning, or being in any way logically or factually connected with the matter discussed.

       6.     "Communication" means the transmission of information or data in any form

inducing written, oral, electronic, or other transmissions, including without limitation personal

conversations, e-mail, text message, any other method or means of electronic communication,

conferences, telephone conversations, memoranda, letters, correspondence, reports, and

publications, and shall include any means of conveying a message, thought, or idea from one or

more persons to one or more persons, and shall be given the broadest possible interpretation.




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       7.      The "Premises" shall mean the specific building where the incident giving rise to

Plaintiffs' Complaint took place, within the larger property located at 512 Liberty Expressway,

Albany, Georgia 31705.

       8.      The "Incident" shall mean the forklift mast that fell on Calvin Litt, Jr. on or about

September 23, 2021 at the Premises, as fully detailed in Plaintiffs' Complaint.

       9.      The terms "and" and "or" shall be construed either conjunctively or disjunctively

as necessary to bring within the scope of the request all responses that might otherwise fall

outside the scope of this request.

       10.     The terms "all," "any," or "each" encompass any and all of the matter discussed.

       11.     The use of singular form includes plural, and vice versa.

       12.     The use of present tense includes past tense, and vice versa.


                                REQUESTS FOR ADMISSION

       1.      Admit that no other subsidiary of The Proctor & Gamble Company had any

affiliation with the Premises on the date of the subject incident.

       2.      Admit that Procter & Gamble is subject to the jurisdiction of this Court.

       3.      Admit that venue is proper in this Court.

       4.      Admit that Plaintiff's Complaint was filed within the Statute of Limitations.

       5.      Admit that Procter & Gamble was properly served with Plaintiffs' Summons and

Complaint.

       6.      Admit that Procter & Gamble was properly served with Plaintiffs' Summons and

Complaint within the Statute of Limitations.

       7.      Admit that the Incident referred to in Plaintiffs' Complaint did, in fact, occur on

September 23, 2021.



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       This 7th day of March, 2022.

                                            BROOKS INJURY LAW,LLC


                                            /s/ Natanya Brooks
                                                    Natanya H. Brooks, Esq.
                                            Georgia Bar No: 341039
                                            Meredith S. Watts, Esq.
                                            Georgia Bar No: 362080
                                            Attorneys for Plaintiff
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 mswObrooksinjurylaw.com




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                     IN THE SUPERIOR COURT OF DOUGHERTY COUNTY
                                  STATE OF GEORGIA

 CALVIN LITT, SR. and IRISH LITT,
 individually as the Wrongful Death
 Beneficiaries of CALVIN L=,JR., and
 CALVIN L=,SR., as the anticipated
 Administrator of the Estate of CALVIN
 LITT, JR.,

      Plaintiffs,
                                                      CIVIL ACTION FILE
 V.                                                   NO.

 THE PROCTER & GAMBLE PAPER
 PRODCUTS COMPANY,

      Defendant.

                 PLAINTIFFS'FIRST INTERROGATORIES TO
       DEFENDANT THE PROCTER & GAMBLE PAPER PRODUCTS COMPANY

         Pursuant to 0.C.G.A. §§ 9-11-26 and 9-11-33, Plaintiffs, by and through their

undersigned counsel, hereby requests that Defendant The Procter & Gamble Paper Products

Company respond under oath to the following interrogatories within 30 days in accordance with

the Definitions and Instructions set forth below.

                                           DEFINITIONS

         As used herein, the terms listed below are defined as follows:

         1.         "Procter & Gamble,' "you" or "your" shall mean, collectively, Defendant The

Procter & Gamble Paper Products Company and its officers, directors, employees, agents,

representatives, attorneys, subsidiaries, affiliated corporations, predecessors in interest,

successors in interest, and any other person or entity acting on The Procter & Gamble Paper

Products Company behalf or subject to The Procter & Gamble Paper Products Company control.
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        2.     "Document" is synonymous in meaning and equal in scope to its usage in

0.C.G.A. § 9-11-34(a)(1), which includes writings, drawings, surveys, plats, graphs, charts,

photographs, phono-records, emails, text messages, and other data compilations from which

information can be obtained, translated, if necessary, by the respondent through detection

devices into reasonably usable form. The term "document" includes all forms of electronically

stored information ("ESI"), as well as related and relevant metadata for all ESI, including but not

limited to information about the document's author, creation date, revision dates, tracked

changes, and electronic comments. ESI may be generated or stored in several locations,

including social media platforms, devices connected to the Internet of Things(IoT), workplace

collaboration tools(WCTs),and ephemeral messaging applications. The term "document"

includes any document now or at any time in Defendant's possession, custody, or control. A

person is deemed in control of a document if the person has any ownership, possession, or

custody of the document, or the right to secure the document or a copy thereof from any person

or public or private entity having physical possession thereof.

       3.      "Person" means any natural person or any legal entity, including but not limited to

any business or governmental entity, organization, or association.

       4.      The "Litigation" shall mean this proceeding, styled Litt et al. v. The Procter &

Gamble Paper Products Company, currently pending in Superior Court of Dougherty County.

       5.      "Relate," "relating," or "regarding" means consisting of, referring to, reflecting,

concerning, or being in any way logically or factually connected with the matter discussed.

       6.      "Communication" means the transmission of information or data in any form

including written, oral, electronic, or other transmissions, including without limitation personal

conversations, e-mail, text message, any other method or means of electronic communication,



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      Case 1:22-cv-00044-LAG Document 1-1 Filed 04/13/22 Page 21 of 46




conferences, telephone conversations, memoranda, letters, correspondence, reports, and

publications, and shall indude any means of conveying a message, thought, or idea from one or

more persons to one or more persons, and shall be given the broadest possible interpretation.

       7.      The "Premises" shall mean the property located at 512 Liberty Expressway,

Albany, Georgia 31705.

       8.      The "Truck Shop" shall mean the area at the Premises where Calvin Litt, Jr. and

other Sodexo employees performed maintenance work on forklifts and other motorized vehicles.

       9.      The "Incident" shall mean the forklift mast that fell on Calvin Litt, Jr. on or about

September 23, 2021at the Premises, as fully detailed in Plaintiffs' Complaint.

       10.    "Identify" means, depending on its use:

              a.      For each request to identify a person, state his or her full name, current or

                      last known address, current or last known phone number, occupation and

                      job title.

               b.     For each request to identify a document, provide the author, recipients,

                      date, and subject matter (or in the alternative, provide a copy of the

                      document).

              c.      For each request to identify a communication:

                     i.       If written, provide the name(s) of the person(s)involved, the

                              date(s) of the communication, and the content of the

                              communication (or in the alternative, provide a copy of the

                              document); and

                    U.        If oral, provide the name(s) of the person(s)involved, the date(s)

                              of the communication, the content of the communication, and



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                               identify any document reflecting or recording the communication

                              (or in the alternative, provide a copy of the document).

        11.    The terms "and" and "or" shall be construed either conjunctively or disjunctively

as necessary to bring within the scope of the request all responses that might otherwise fall

outside the scope of this request.

       12.     The terms "all," "any," or "each" encompass any and all of the matter discussed.

       13.     The use of singular form includes plural, and vice versa.

       14.     The use of present tense includes past tense, and vice versa.


                                         INSTRUCTIONS

       1.      Each interrogatory herein shall be construed separately, and no interrogatory shall

be used to construe any other interrogatory more narrowly than it otherwise would be construed.

       2.      If, after exercising due diligence to secure the information, you cannot answer any

of the interrogatories in full, please so state and answer to the extent possible, specifying your

inability to answer the remainder and your efforts to secure the information, and stating whatever

information you have concerning the unanswered portions. If your response is qualified in any

way, please set forth the details of such qualification.

       3.      If you wish to assert attorney-client privilege, attorney work product protection,

or any other privilege as to any interrogatory, in whole or in part, then please identify the

information as to which privilege is claimed in a manner such that the Court may determine

whether such information is entitled to be accorded privileged status.

       4.      These interrogatories are deemed to be continuing to the extent permitted by

federal law, so as to require you to supplement the response to any interrogatory as to which you




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obtain additional knowledge or information relating in any way to these interrogatories between

the time the answers are served and the time of trial.


                                     INTERROGATORIES

       1.      Please identify the following "persons"(per definition 3 above) with regard to the

Premises, providing each person's legal name, last-known phone number, email, and physical

address:

       a.      the person(s) who had control and/or possession of the Premises on the date of the

               Incident;

       b.      the person(s) who owned the Premises;

       c.      the person(s) who occupied the Premises;

       d.      the person(s) responsible for inspecting, maintaining, and repairing the Premises;

               and

       e.      the person(s) responsible for safety at the Premises with regard to the prevention

               of injuries at the Premises.

       2.      Please identify the following "persons"(per definition 3 above) with regard to the

Truck Shop at the Premises, providing each person's legal name, last-known phone number,

email, and physical address:

       a.      the person(s) who had control and/or possession of the Truck Shop at the

               Premises on the date of the Incident;

       b.      the person(s) who owned the Truck Shop at the Premises;

       c.      the person(s) who occupied the Truck Shop at the Premises;

       d.      the person(s) responsible for inspecting, maintaining, and repairing the Truck

               Shop at the Premises; and


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         e.    the person(s) responsible for safety at the Truck Shop at the Premises with regard

               to the prevention of injuries at the Truck Shop at the Premises.

         3.    Please identify the "persons"(per definition 3 above) who had access to or

authority over supervising the activity at the Truck Shop at the Premises on Defendant's behalf

on September 23, 2021.

         4.    Identify each and every employee, contractor, subcontractor, or independent

contractor of Defendant who was present at the Truck Shop at the Premises at any time on

September 23, 2021.

         5.    Please identify the "persons"(per definition 3 above) who provided the tools and

equipment Calvin Litt, Jr. was using at the Premises on September 23, 2021 to repair the fork

truck.

         6.    Identify the "persons"(per definition 3 above) who negotiated the service

contract(s) between Sodexo, or its affiliate, and Defendant related to work performed by Sodexo

at the Premises.

         7.    Please "identify"(per definition 10 above) any photographs, video recordings,

including surveillance, or audio recordings of any person, place, or thing related to the Incident

or any claim in this case, including in your response how many photographs exist and the length

of any video or audio recordings.

         8.    Please state the name, residential address, home phone number, cellphone

number, email address, work address, work phone number, and date of birth of each and every

person,firm, or entity who:

         a.    Prepared an incident report and/or conducted an investigation with regard to the

               Incident; or



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       b.      Has or claims to have knowledge of facts concerning liability and/or damages in

               this lawsuit.

       9.      If, on or before the date of the Incident, Defendant had any established policy or

procedure for the inspection or supervision of the Truck Shop at the Premises in and around

where Plaintiff was injured as described in the Complaint, please describe the policy or

procedure.

       10.     If the Truck Shop at the Premises was periodically inspected, monitored, or

supervised by you or any agent or employee of you, state when and how often such inspection,

monitoring, and/or supervision occurred, whether any document was created as a result of the

inspection; and state the name and address of any and all person(s) assigned to inspect the

Premises between September 23, 2018 and the date of the Incident.

       11.     Identify all documents, records, memoranda, and/or correspondence containing or

referring in any way to any other injuries suffered by any person at the Premises from September

23, 2018 through September 23, 2021.

       12.     Identify all persons who have given verbal, written, or recorded statements

covering the facts and/or circumstances of the Incident.

       13.     Identify every person (whether an employee or not)that you expect to call as an

expert witness in the Litigation and for each such person identify the substance of the facts and

opinions that the expert is expected to testify, a summary of the grounds for each opinion, and

each document that you have provided to the expert.

       14.     If you contend that Plaintiff has brought this action against the wrong entities due

to a misnomer, or that another person or entity is wholly or partially responsible for damages




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 sustained by Plaintiff, please identify the name, address, and telephone number of such entities

 or persons.

         15.     List each and every act of negligence, contributory negligence, or comparative

 negligence on the part of Plaintiff that you contend contributed in any way to causing the

 Incident and/or any of Plaintiff's injuries.

        16.      Identify each and every employee, contractor, subcontractor, or independent

 contractor of Defendant who was present at the Premises at any time on September 23, 2021.

        17.      On what date did you first anticipate litigation arising out of the subject Incident?

        This   e day of March, 2022.
                                                       BROOKS INJURY LAW,LLC


                                                       /s/ Natanya Brooks
                                                       Natanya H. Brooks, Esq.
                                                       Georgia Bar No: 341039
                                                       Meredith S. Watts, Esq.
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                     IN THE SUPERIOR COURT OF DOUGHERTY COUNTY
                                  STATE OF GEORGIA

 CALVIN LITT, SR. and IRISH LITT,
 individually as the Wrongful Death
 Beneficiaries of CALVIN LITT, JR., and
 CALVIN LITT, SR., as the anticipated
 Administrator of the Estate of CALVIN
 LITT, JR.,

      Plaintiffs,
                                                      CIVIL ACTION FILE
 V.                                                   NO.

 THE PROCTER & GAMBLE PAPER
 PRODCUTS COMPANY,

      Defendant.

       PLAINTIFFS'FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
       DEFENDANT THE PROCTER & GAMBLE PAPER PRODUCTS COMPANY

         Pursuant to 0.C.G.A. §§ 9-11-26 and 9-11-34, Plaintiffs, by and through their

undersigned counsel, hereby requests that Defendant The Procter & Gamble Paper Products

Company produce for inspection and copying the original documents identified below at the

offices of Brooks Injury Law, 3740 Davinci Court, Suite 150, Peachtree Corners, Georgia 30092,

in accordance.with the following Definitions and Instructions, within 30 days of the date hereof.

In lieu of producing the originals, Defendant may produce copies of said documents and written

responses to these requests and mail them to Plaintiff's counsel.

                                           DEFINITIONS

         As used herein, the terms listed below are defined as follows.
                                                                      ,

         1.         "Procter & Gamble,' "you" or "your" shall mean, collectively, Defendant The

Procter & Gamble Paper Products Company and its officers, directors, employees, agents,

representatives, attorneys, subsidiaries, affiliated corporations, predecessors in interest,
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successors in interest, and any other person or entity acting on The Procter & Gamble Paper

Products Company behalf or subject to The Procter & Gamble Paper Products Company control.

       2.      "Document" is synonymous in meaning and equal in scope to its usage in

0.C.G.A. § 9-11-34(a)(1), which includes writings, drawings, surveys, plats, graphs, charts,

photographs, phono-records, emails, text messages, and other data compilations from which

information can be obtained, translated, if necessary, by the respondent through detection

devices into reasonably usable form. The term "document" includes all forms of electronically

stored information ("ESI"), as well as related and relevant metadata for all ESI, including but not

limited to information about the document's author, creation date, revision dates, tracked

changes, and electronic comments. ESI may be generated or stored in several locations,

including social media platforms, devices connected to the Internet of Things (IoT), workplace

collaboration tools (WCTs), and ephemeral messaging applications. The term "document"

includes any document now or at any time in Defendant's possession, custody, or control. A

person is deemed in control of a document if the person has any ownership, possession, or

custody of the document, or the right to secure the document or a copy thereof from any person

or public or private entity having physical possession thereof.

       3.      "Person" means any natural person or any legal entity, including but not limited to

any business or governmental entity, organization, or association.

       4.      The "Litigation" shall mean this proceeding, styled Litt et al. v. The Procter &

Gamble Paper Products Company, currently pending in Superior Court of Dougherty County.

       5.      "Relate," "relating," or "regarding" means consisting of, referring to, reflectin

concerning, or being in any way logically or factually connected with the matter discussed.




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        6.     "Communication" means the transmission of information or data in any form

including written, oral, electronic, or other transmissions, including without limitation personal

conversations, e-mail, text message, any other method or means of electronic communication,

conferences, telephone conversations, memoranda, letters, correspondence, reports, and

publications, and shall include any means of conveying a message, thought, or idea from one or

more persons to one or more persons, and shall be given the broadest possible interpretation.

        7.     The "Premises" shall mean the property located at 512 Liberty Expressway,

Albany, Georgia 31705.

       8.      The "Truck Shop" shall mean the area at the Premises where Calvin Litt, Jr. and

other Sodexo employees performed maintenance work on forklifts and other motorized vehicles.

       9.      The "Incident" shall mean the forklift mast that fell on Calvin Litt, Jr. on or about

September 23, 2021at the Premises, as fully detailed in Plaintiffs' Complaint.

       10.     The terms "and" and "or" shall be construed either conjunctively or disjunctively

as necessary to bring within the scope of the request all responses that might otherwise fall

outside the scope of this request.

       11.     The terms "all," "any," or "each" encompass any and all of the matter discussed.

       12.     The use of singular form includes plural, and vice versa.

       13.     The use of present tense includes past tense, and vice versa.

                                       INSTRUCTIONS

       A.      These requests call for the production of all responsive documents in your

possession, custody or control, or in the possession, custody or control of your employees,

predecessors, successors, parents, subsidiaries, divisions, affiliates, partners, joint venturers,




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brokers, accountants, financial advisors, representatives and agents or other persons acting on

your behalf, without regard to the physical location of such documents.

       B.      In responding to these requests, include documents obtained on your behalf by

your counsel, employees, agents, or any other persons acting on your behalf. If your response is

that the documents are not within your possession or custody, describe in detail the unsuccessful

efforts you made to locate each such document. If your response is that documents are not under

your control, identify who has the control and the location of the documents.

       C.      Each document request herein shall be construed separately, and no document

request shall be used to construe any other document request more narrowly than it otherwise

would be construed.

       D.      As required by Georgia law, all documents are to be produced either as they are

kept in the usual course of business or organized and labeled to correspond to the specific

request(s) to which the documents are responsive. File folders, labels, and indices identifying

documents requested herein shall be produced intact with such documents. Documents attached

to each other shall not be separated.

       E.      Format of Production for ESI: ESI shall be collected in a manner that preserves

all metadata and produced in its original native format, with all metadata intact. For example,

documents created using Microsoft Word or Excel must be produced as .doc or .)ds files, and

emails must be produced as .msg or .pst files. Or, you must produce ESI in text-searchable PDF

format with corresponding load files containing the document's text and all available metadata.

Any files that are not easily converted to text-searchable PDF format, such as spreadsheets,

database, and drawing files, should be produced in native format. Duplicates may be removed




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from all ESI productions in a manner that does not break up document families (such as emails

and attachments), but any duplicate ESI that is not produced should be preserved.

        F.      If any document was, but no longer is, in your possession, subject to your control,

or in existence, include a statement:

        a.      identifying the document;

        b.      describing where the document is now;

        c.      identifying who has control of the document;

        d.      describing how the document became lost or destroyed or was transferred; and

        e.      identifying each of those persons responsible for or having knowledge of the loss,

                destruction or transfer of the document from your possession, custody or control.

        f.      Each request contemplates production of all documents in their entirety. If only a

                portion of a document is responsive to one or more requests, the document shall

                be produced in its entirety.

        G.      Each request contemplates production of all documents in their entirety. If only a

portion of a document is responsive to one or more requests, the document shall be produced in

its entirety.

        H.      If any otherwise discoverable document is withheld in whole or in part for any

reason including, without limitation, a claim of privilege or other protection from disclosure such

as the work product doctrine or other business confidentiality or trade secret protection, set forth

separately with respect to each document:

        a.      the ground of privilege or protection claimed;

        b.      each and every basis under which the document is withheld;

        c.      the respective author(s) and sender(s) if different;



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        d.      the date and type of the document or written communication not produced;

        e.      in general terms, the subject matter of the withheld information; and

       f.       other information of the nature of the documents in a manner that will enable the

                parties to assess such claim, in accordance with Georgia Uniform State Court

                Rule 5.5.

        I.      To the extent Defendant asserts that a document contains information that should

be protected from disclosure (based on the attorney-client privilege, work product doctrine or

another protection) and nonprivileged information, the nonprivileged portions of the document

must be produced. For each such document, indicate the portion of the document withheld by

stamping the words "MATERIAL REDACTED" on the document in an appropriate location that

does not obscure the remaining text.

        J.     If there are no documents in response to any particular request, Defendant shall

state so in writing.

       K.      Defendant's response to these requests must be promptly supplemented when

appropriate or necessary in accordance with 0.C.G.A. § 9-11-26(e).

                                   DOCUMENT REQUESTS

        1.     Copies of all witness statements and incident reports obtained from any person in

connection with the Incident.

       2.      Copies of all policies of insurance (including Declarations pages) which do or

may afford liability insurance coverage for damages arising from the Incident. This Request

includes primary insurance coverage, excess insurance coverage, umbrella, or any other type of

liability insurance coverage, and medical-payments coverage.




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        3.     Copies of all reports from anyone who has investigated any issue related to the

Incident. Also, produce all materials relied upon by any person in formulating their opinions and

conclusions. This Request excludes reports made by your counsel.

       4.      The personnel files of all person(s) who worked on the premises from September

1,2021 through the date of the subject incident, including all applications for employment,job

descriptions, payroll records pertaining to the time of the Incident, letters of reference, time

records, all documents referencing the investigation of said persons, all documents relative to

termination of said person, all documents referencing any performance evaluations, disciplinary

actions or reprimands of said person as a result of this or any incident, and any other document

of any kind or by any name whatsoever which is in any way relative to the employment of said

person with Procter & Gamble.

       5.      Copies of any documents that show that Procter & Gamble inspected, managed,

and/or maintained the Truck Shop at the Premises, and/or repaired and/or maintained any

machinery or other equipment in the Truck Shop at the Premises before September 23, 2021.

       6.      Copies of any reservation of rights letter or other documentation of any kind

received from any insurer that purports to deny insurance coverage, or to reserve the right to

contest the issue of coverage, for the claims made in this lawsuit.

       7.      Copies of all claim forms, incident reports, or other documentation evidencing

any other injuries occurring (or alleged to have occurred) at the Premises.

       8.      Copies of any incident reports and documents received or prepared by Procter &

Gamble regarding the Incident.

       9.      Copies of any reports and/or statements concerning the Incident received or

prepared on Procter & Gamble's behalf.



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        10.    Copies of any photographs, video, or audio of Calvin Litt, Jr.

        11.    Any employee handbooks, policy or procedure manuals, training materials, risk

management or injury prevention documents, videotapes, motion pictures, movies, safety

bulletins, directives, publications, and/or materials of any other name that are related to Procter

& Gamble's knowledge or notice of hazards related to the work being performed at the Truck

Shop at the Premises; or regarding day-to-day operations, safety procedures, proper training,

testing, hiring, retention, disciplinary actions, interviewing, and/or anything else related to

ensuring the safety of all persons at the Truck Shop at the Premises on September 23, 2021.

       12.     Copies of any and all incident reports of any previous injuries at the Premises

from September 23, 2016 through September 23, 2021.

       13.     Copies of all contracts or agreements entered into between Procter & Gamble and

Sodexo, or any affiliate of Sodexo, pertaining to work performed at the Premises.

       14.     Copies of all contracts or agreements entered into between Procter & Gamble and

any other individual and/or entity pertaining to work performed at the Premises.

       15.     Copies of all contracts or agreements entered into between Procter & Gamble and

the owner of the Premises.

       16.     A copy of the lease agreement(s) or any other documents setting forth the terms

under which Procter & Gamble occupied the Premises as of September 23, 2021.

       17.     Copies of all records and/or documents, correspondence, emails, and memoranda

regarding any communications with Sodexo, or any affiliate of Sodexo, or its insurers, regarding

work performed at the Premises from September 23, 2016 through September 23, 2021.




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        18.     Copies of all records and/or documents, correspondence, emails, and memoranda

regarding any communications with Sodexo, or any affiliate of Sodexo, or its insurers, regarding

the Incident.

        19.     Copies of all records and/or documents, correspondence, emails, and memoranda

regarding any communications with Sodexo, or any affiliate of Sodexo, or its insurers, regarding

training for workers working in the Truck Shop from September 23, 2016 through September 23,

2021.

        20.     Copies of all records and/or documents, correspondence, and memoranda

regarding changes and/or modifications to policies and procedures concerning maintenance work

performed at the Truck Shop at the Premises since September 23, 2021.

        21.     For any expert expected to testify on behalf of Procter & Gamble,

        a.      The expert's curriculum vitae;

        b.      Any report created in reference to this case;

        c.      All documents provided to the expert(s);

        d.      All documents received from expert(s);

        e.      The expert's entire file related to this case;

        f.      A list of all other cases for which the expert has been retained in the past ten

                years, or such period of time the expert retains such records, if less than ten years.

        22.     Copies of all Complaints initiating civil actions against you for injuries sustained

at the Premises between January 1, 2011 and the present.

        23.     Documents you receive in response to non-party requests, informal requests, or

subpoenas for the production of documents.




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        24.     Documents or emails generated as a result of Calvin Litt, Jr.'s injuries and death,

including incident reports, maintenance reports, security warnings, etc.

        25.     The claims handling guidelines and procedures applicable to the Incident.

        26.     Copies of all documents that you contend support any of your defenses.

        27.     A list of all documents being withheld from production by virtue of any privilege

of non-production or for any other reason, identifying each document by its name, date, author,

and recipient and specifying the reason for withholding it from production.

        28.     All documents,including but not limited to emails, between any employee of

Procter & Gamble and Calvin Litt, Jr.

        29.     Copies of all documentation of any kind received from any government, person,

or corporation relating to the Incident.

        30.     Copies of any and all documents filed as part of an insurance claim with any

insurer relating to the Incident.

        31.    All written statements, descriptions of statements, records, and written

accounts of investigation, directly or indirectly, related to the Incident.

        32.    All photographs and diagrams of any person, place, or thing that is directly

or indirectly related to the Incident.

        33.    All other writings, memoranda, data and/or tangible things that are related,

directly or indirectly, to the Incident and/or damages set forth in this matter.

        34.    All documents relating to the manner of the Incident, the events giving rise
                                                                     -
or leading up to it, other than any statements of witnesses or parties produced in response

to any of the preceding Requests.




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        35.    All documents relating to the conditions at the scene of the Incident

(e.g., weather conditions, roadway surface, construction, traffic signals or signs).

        36.    All documents relating to the contractual responsibility, if any, by Procter 8z

 Gamble or any other party with respect to conditions existing at the Premises of the

Incident and the time thereof.

        37.    All documents relating to any agreement, understanding, or relationship

between any party herein, including the principals, agents or employees, which, in whole

or in part, is alleged to establish any responsibility, joint or sole, for any of the conduct

allegedly committed by Procter 8z Gamble with respect to the subject matter of this

Litigation.

        38.    All documents relating to complaints,or any other notification of potentially

dangerous conditions at the Truck Shop at the Premises and received by Procter &

Gamble prior to the Incident.

        39.    All documents and expert reports concerning the explanation for or cause

of the Incident.

        40.    All documents relating to any facts that it is asserted that the conduct of

Calvin Litt, Jr. contributed to the happening of the Incident or the injuries or losses

suffered as a result thereof.

        41.    All documents relating to the identity of any statute, standard, or ordinance or

governmental code which was allegedly violated by Procter & Gamble or any contractor

working for Procter & Gamble at the time of the Incident.

        42.    All documents within your possession, custody, or control relating to Calvin

Litt, Jr.'s business relationship with Procter & Gamble from its inception to the present.



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        43.    All demonstrative evidence to which reference maybe made at the time of



        44.    All documents relating to Calvin Litt, Jr.'s background, including, but not

limited to, occupation, criminal, and medical background.

        45.    All statements taken by you or any person relating to the facts of this case,

other than those produced in response to any of the preceding Requests.

        46.    All documents that contain, refer, or relate to any oral communication

regarding the Incident that took place with any and all employees, representatives, agents,

servants or any other party.

        47.    Copies of all statements, as defined by the Georgia Rules of Civil

Procedure, whether recorded or written, obtained in connection with the Incident.

        48.    All reports and/or other documents, including but not limited to emails,

email attachments, reports, letters, etc., that pertain to the Incident.

        49.    Any documents, directives, correspondence, investigation, statements or any

other documentary data pertaining to or in any way relating to Incident, including, but not

limited to, personal injury reports, accident reports, investigations and findings. This

request excludes all documents which are protected from discovery by the Georgia Rules

of Civil Procedure.

        50.    Any and all documents relating to and/or relied upon in the construction

and/or installation and/or maintenance of the fork truck Calvin Litt, Jr. was working on on

the date of the Incident.




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        51.     Any and all documents relating to the design and/or engineering and/or

manufacturing of the overhead crane upon which the mast of the fork truck connected to at

the Premises.

        52.     All correspondence, memoranda, documents, statements and/or any other

documentary data provided to or received from any liability insurance company or loss

control service in connection with Incident. This Request excludes all documents

protected from discovery by the Georgia Rules of Civil Procedure.

        53.     All accident reports pertaining to injuries sustained at the Premises.

        54.     All documents evidencing or reflecting any and all individuals working on site at

the Truck Shop from September 1, 2021 through the time of the Incident.

        55.     Any document in your possession referencing the Incident in any way.

        56.     Any documents Procter & Gamble created and/or received that reference the

Incident in any way, including, but not limited to, meeting minutes, accident

investigation report, correspondence, photos and videos.

        57.     All investigative material regarding the Incident including, but not limited to,

videotapes, surveillance, photographs, statements, investigative reports, memos,

audiotapes, videotapes, computer information or any other document or thing, excluding

documents protected from disclosure by either the attorney-client privilege and/or the work

product doctrine.

        58.     Copies of all ownership/contracts relating to the Truck Shop at the

Premises.




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        59.    Copies of any and all policies, procedures, contracts, payment receipts,

etc. that address, in an' y way, the activity of the construction and/or installation and/or

maintenance of the Fork Truck at the Truck Shop at the Premises.

        60.    All documents evidencing or reflecting any and all individuals with

knowledge of the Incident.

        61.    All documents evidencing or reflecting any and all individuals on site at

the Truck Shop at the Premises on the date of the Incident.

        62.    Any and all expert reports in connection with the Incident.

        63.   Any and all claims files in connection with the Incident.

        64.   All job reports, structural inspection reports, and complete or incomplete floor

plans, made in connection with the Truck Shop at the Premises.

        65.   All submittals by your company for use at the Truck Shop in connection

with any work performed by you or on behalf of your company.

        66.   All documents that refer or relate to the site-specific lock out tag out of the

fork truck Calvin Litt, Jr. was working on at the time of the Incident.

        67.   All documents that refer or relate to the training and certification of the

personnel engaged in the repair of the fork trucks at the Truck Shop from September 23, 2016

through September 23, 2021.

        68.   Daily job reports of Defendant or any contractor working for Defendant for

the Truck Shop from September 23, 2016 through November 30, 2021.

        69.   All safety meeting minutes and/or "toolbox talks" involving your company at

the Truck Shop at the Premises.




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        70.    The Truck Shop's standard operating procedures and job rules

specifications.

        71.    The contract, including the general conditions of the any contract, entered in

by Defendant for the purposes of maintenance work and/or construction at the Premises.

        72.    Any documents received from or exchanged with between Defendant and

any contractor at the Premises pertaining to the Incident.

        73.    All change or work orders in connection with the subject Fork Truck repair

that Calvin Litt, Jr was performing on September 23, 2021.

        74.   The memorandum file for the Truck Shop.

        75.   The master plan at schematic level for the Truck Shop relative to the overall

property layout.

        76.   The Truck Shop and/or company safety booklet or manual.

        77.   The entirety of any safety orientation given to the workers at the Truck Shop

of the Premises.

        78.   Minutes of all safety meetings at the Truck Shop at the Premises.

        79.   Minutes of all Contractor Meetings at the Truck Shop at the Premises.

        80.   All inspection reports or any other documents discussing or mentioning

inspections at the Truck Shop from September 23, 2016 through the date of the Incident.

        81.   Any and all project specific Safety Programs received by and/or created

by your company for the Premises.

        82.   Any and all OSHA violations received by your company from 2011

through the present.




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        83.   All documents reflecting or constituting responses to any and all OSHA

violations received by Procter & Gamble from 2011 through the present.

        84.   All documents evidencing or reflecting payment of any and all OSHA

violations by Procter & Gamble from 2011 through the present.

        85.   All documents evidencing or reflecting the status or outcome of any and

all OSHA violations against Procter & Gamble from 2011 through the present.

        86.   All daily status reports and logs for the Truck Shop from September 23, 2016

through the date of the Incident.

        87.   All Truck Shop managers' completed forms, logs or diaries from September

23, 2016 through the date of the Incident.

        88.   Your company's Safety Program and/or Safety Manual that was applicable to

your company's work at the Truck Shop.

        89.   Any and all Safety inspections, surveillances, walkdowns,

w alk thought s that were applicable to your company's safety program at the Truck

Shop.

        90.   Any other document pertaining to the Incident that is the subject of this

lawsuit, excluding documents protected by the attorney client privilege and/or attorney

work project doctrine.

        91.   A list of all employees on site on the day of this Incident, September 23,

2021, and for the three-week period prior to the date of the Incident. Any and all job

hazard analysis relating to the repair and/or installation and/or maintenance of the subject

Fork Truck that Calvin Litt, Jr. was working on the date of the Incident.




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       Case 1:22-cv-00044-LAG Document 1-1 Filed 04/13/22 Page 43 of 46




        92.    Any and all job hazard analysis regarding work at the Truck Shop at the

Premises.

        This 8th day of March, 2022.

                                                 BROOKS INJURY LAW,LLC


                                                 /s/ Natanya Brooks
                                                 Natanya H. Brooks, Esq.
                                                 Georgia Bar No: 341039
                                                 Meredith S. Watts, Esq.
                                                 Georgia Bar No: 362080
                                                 Attorneys for Plaintiff
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 3740 Davinci Court, Suite 150
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(678)813-2202
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               Case 1:22-cv-00044-LAG Document 1-1 Filed 04/13/22 Page 44 of 46

                                                                                             EFILED IN OFFICE
                       General Civil and Domestic Relations Case Filing Information FornrGLERK OF SUPERIOR COURT
                                                                                                       DOUGHERTY COUNTY, GEORGIA
                           l l Superior or 0 State Court of        Dougherty                  County SUCV2022000272

        For Clerk Use Only                                                                                 MAR 04, 2022 04:16 3M

        Date Filed 03-04-2022                                  Case Number SUCV2022000272                            • .•        'fsr\
                                                                                                                             Evonne S. kre..s., Clerk
                                                                                                                        Dougherty County. oeorgia
                       MM-DD-YYYY

Plaintiff(s)                                                      Defendant(s)
Litt, Calvin, Sr.                                                 The Proctor & Gamble Paper Products Company, I
Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix          Prefix
Litt, Irish
Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix          Prefix
Calvin Litt, Sr., as the anticipated
Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix          Prefix


Last           First           Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix          Prefix

Plaintiff's Attorney   Brooks, Natanya                             Bar Number     341039            Self-Represented 0

                           Check one case type and, if applicable, one sub-type in one box.

        General Civil Cases                                              Domestic Relations Cases
        El      Automobile Tort                                          :1 1   Adoption
        El      Civil Appeal                                             El     Contempt
        El      Contract                                                        El Non-payment of child support,
        El      Contempt/Modification/Other                                     medical support, or alimony
                Post-Judgment                                            El     Dissolution/Divorce/Separate
       El       Garnishment                                                     Maintenance/Alimony
       •        General Tort                                             El     Family Violence Petition
       El       Habeas Corpus                                            El     Modification
       El       Injunction/Mandamus/Other Writ                                  0 Custody/Parenting Time/Visitation
       I=1      Landlord/Tenant                                          O      Paternity/Legitimation
       O        Medical Malpractice Tort                                 El     Support — IV-D
       El       Product Liability Tort                                   El     Support— Private(non-IV-D)
       El       Real Property                                            O      Other Domestic Relations
       LJ       Restraining Petition
       El       Other General Civil

El      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                 Case Number                                   Case Number

l l     I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.

El      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                           Language(s) Required

0       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                             Version 1.1.20
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                                                          CLERK OF SUPERIOR COURT
                                                         DOUGHERTY COUNTY, GEORGIA
                                                         SUCV2022000272
                                                                    VSD
                                                           MAR 21, 2022 12:59 PM
      or              Case 1:22-cv-00044-LAG Document 1-1 Filed 04/13/22 Page 46 of 46
 ••
 ,
" Sheriff Number: 22007383 Court Case Number: SUCV2022000272                                        State of Georgia
   Date Received: 3/11/2022 Time: 2:13 PM                                                           Gwinnett County
   Special Service Inst:



       ATTORNEY'S ADDRESS                                                  CALVIN LITT SR.; IRISH LITT; CALVIN LITT SR, AS THE
                                                                           ANTICIPATED, DBA ADMINISTRATOR OF THE ESTATE
       BROOKS INJURY LAW LLC                                                               OF CALVIN LITT, JR
       3740 DAVINCI CT                                                                          PLAINTIFF
       SUITE 150                                                                                   VS.
       PEACHTREE CORNERS, GA 30092                                        THE PROCTOR & GAMBLE PAPER PRODUCTS COMPANY
  NAME AND ADDRESS OF PARTY TO BE SERVED                                                           ONC
                                                                                               DEFENDANT
  THE PROCTOR & GAMBLE PAPER PRODUCTS COMPANY, INC.
  289 SOUTH CULVER STREET
  LAWRENCEVILLE, GA 30046
                                        SHERIFF'S ENTRY OF SERVICE

  PERSONAL             Sex          Skin Color            Hair Color          Age           Hgt          Wgt
        I have this day served the defendant                                              personally with a copy of the within action and summons.

  NOTORIOUS
  I have this day served the defendant                                                                          by leaving a copy of the action and
  summons at his most notorious place in this County.

  Delivered same into the hands of                                                                       described as follows:

            SEX                SKIN COLOR                   HAIR COLOR                    AGE                HGT                        WGT



  CORPORATION

  I have this day served the                                                                                             a corporation by leaving a copy of
  the within action and summons with                                                                                    in charge of the office and place of
  doing business of said Corporation in this County.

  TACK AND MAIL

  I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
  designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
  envelope properly addressed to the defendant at the address shown in said summons, with adequate postage affixed thereon containing notice to the
  defendant(s) to answer said summons at the place stated in the summons.

  NON EST     n
  Diligent search made and defendant                                                                                                         not to be found
  in the jurisdiction of this Court.

  SPECIAL PROCESS



  COMMENTS


                                                                                                                _

                                                                                                Date:               I
                                                                                                                        ,



                                                                                                Time:



                                                                                                                            Deputy Sheriff


                                                                                                          GWINNETT COUNTY GEORGIA
